849 F.2d 606Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James T. ROSS, Plaintiff-Appellant,v.Arnold HOPKINS;  John Brown, Warden, individually and as theCommissioner of the Division of Corrections,Defendants-Appellees.
    No. 87-6623.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 13, 1988.Decided:  June 8, 1988.
    
      James T. Ross, appellant pro se.
      Stephanie Judith Lane-Weber, Assistant Attorney General (Office of the Attorney General of Maryland), for appellees.
      Before K.K. HALL, JAMES DICKSON PHILLIPS and MURNAGHAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      James T. Ross appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Ross v. Hopkins, C/A No. 87-368-R (D.Md. Aug. 24, 1987).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    